Case 1:03-cr-00929-NGG              Document 547              Filed 03/30/06   Page 1 of 2 PageID #: 3484




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,
                                                                       MEMORANDUM & ORDER

         v.                                                            03-CR-929 (NGG)

 VINCENT BASCIANO, and
 PATRICK DEFILIPPO,

                            Defendants.
 ---------------------------------------------------------X
 GARAUFIS, United States District Judge.


         On Monday, March 27, 2006, the United States (“Government”) delivered materials to

 the defendants Vincent Basciano (“Basciano”) and Patrick DeFilippo (“DeFilippo”) (collectively

 “Defendants”) pursuant to 18 U.S.C. § 3500 (“3500 materials”). Although the Government

 provided these materials in a timely manner for Kevin Guilland, the witness to whom it claims

 the materials are related, Basciano asserts that the material is 3500 material for Dominick Cicale,

 who was already on cross-examination by Basciano’s counsel when the material was turned over.

         Without reaching the question of whether or not the materials produced are 3500 material

 for Dominick Cicale, the court notes that the trial was recessed on Tuesday, March 28th and

 Wednesday, March 29th. As Dominick Cicale is still on cross-examination by counsel for

 Basciano (to be followed by cross by counsel for DeFilippo), this adjournment has allowed

 Defendants ample time to review the material. Even if the materials are deemed 3500 material

 for Dominick Cicale, this ensures that Defendants’ rights under § 3500 are not violated. See,

 e.g., United States v. Holmes, 722 F.2d 37, 40 (4th Cir. 1983).
Case 1:03-cr-00929-NGG        Document 547        Filed 03/30/06     Page 2 of 2 PageID #: 3485




        The Government is again reminded of its obligations under 18 U.S.C. § 3500. The court

 will not look kindly on delays that may result from the Government’s inattention to its ongoing

 discovery obligations.



 SO ORDERED.

                                                     ____/s/____________________
 Dated: March 30, 2006                               Nicholas G. Garaufis
 Brooklyn, N.Y.                                      United States District Judge
